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CRIMINAL PROCEEDINGS – Video Change of Plea
  UNITED STATES DISTRICT COURT FOR THE DISTRICT OF IDAHO
Judge: Candy W. Dale              Date: February 23, 2021
Courtroom Deputy/ESR: Amy Tate    Time: 10:02-10:34 AM
                                  Location: Zoom

         UNITED STATES OF AMERICA vs. ASHLEY LAUREN CATES
                                          aka ASHLEY LAUREN YARDLEY
                      Case No.: 1:20-cr-00213-DCN-1

Counsel for United States: AUSA Alexis Klempel
Counsel for Defendant: Thad Blank, FD (previously appointed)
Interpreter: N/A

Defendant and counsel consent to proceed via video conference.
Defendant placed under oath.
☒Waiver of Right to District Judge executed.
Defendant found competent to enter a knowing and voluntary plea.
Defendant is satisfied with representation of counsel.
Government stated for the record the elements and evidence of the charge(s).
Defendant advised of the sentencing guidelines and maximum penalties.
Defendant’s Constitutional Rights explained.
Defendant agrees with the elements of the charge(s) as stated by the Government.
No Plea Agreement.
Defendant and counsel advised the change of plea is voluntary, all potential defenses
have been discussed and Defendant fully understand the rights which are being waived.
Defendant entered a plea of guilty to Count(s) 1-4 of the Indictment.
Plea accepted by the Court.
Sentencing set before Judge David C. Nye: May 11, 2021 at 9:00 AM
Court ordered a presentence investigation report.
    Original report to Counsel: March 30, 2021
    Notification of Objections: April 13, 2020
    Final Report Due: April 27, 2020
☒Report and Recommendation shall be entered.
Defendant's custody status remains as previously ordered.

Any motions for departure, sentencing memorandums or letters in support must be filed
seven (7) days prior to the sentencing hearing. Sentencing hearing is scheduled for 1 hour.
